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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 STATE OF CONNECTICUT,
                                                               Case No. 3:24-cv-00239-SRU
                            Plaintiff,

                v.

 EIDP, INC.; DUPONT DE NEMOURS, INC.;
 THE CHEMOURS COMPANY;
 THE CHEMOURS COMPANY FC, LLC;
 CORTEVA, INC.; and 3M COMPANY,
                                                               April 8, 2024
                            Defendants.


    MOTION FOR REMAND TO SUPERIOR COURT AND FOR COSTS AND FEES

       Plaintiff State of Connecticut (“State”) hereby respectfully moves this Court for an Order

pursuant to 28 U.S.C. § 1447(c) remanding this matter to Connecticut Superior Court, Judicial

District of Hartford, and awarding the State costs and fees incurred as a result of Defendant’s

removal. Defendant has failed to meet its burden of establishing this Court’s jurisdiction under any

of the bases cited in Defendant’s Notice of Removal. Moreover, Defendant cannot credibly

contend that it had any objectively reasonable basis for removal of this action, which is simply the

State enforcing its consumer protection statute. In support of this motion, the State relies on its

accompanying Memorandum of Law in Support of Plaintiff’s Motion for Remand to Superior

Court and for Costs and Fees.
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                              Respectfully submitted,

                              PLAINTIFF STATE OF CONNECTICUT

                              WILLIAM M. TONG
                              ATTORNEY GENERAL

                                  /s/ Christopher P. Kelly____
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                              Deputy Associate Attorney General
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 8, 2024, a true and correct copy of the foregoing document

was filed electronically through the Court’s CM/ECF System. Notice of this filing will be sent by

email to all parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s CM/ECF System.



                                                  /s/ Christopher P. Kelly_________
                                                  Christopher Patrick Kelly (ct31247)
